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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 MARK E. FELGER (MF9985)
 JERROLD N. POSLUSNY, JR. (JP7140)
 COZEN O’CONNOR
 LibertyView, Suite 300
 457 Haddonfield Road
 Cherry Hill, NJ 08002
 (856) 910-5000
 Attorneys for the Debtors

 In re:                                                    Case No. 08-14631(GMB)
                                                             (Jointly Administered)
 SHAPES/ARCH HOLDINGS L.L.C., et al.,
                                                           Judge: Gloria M. Burns
                  Debtors.
                                                           Chapter: 11



                 Recommended Local Form:              Followed           Modified


        APPLICATION FOR RETENTION OF NATCITY INVESTMENTS, INC. AS
          SALES CONSULTANT/INVESTMENT BANKER FOR THE DEBTORS
       PURSUANT TO SECTIONS 327 AND 328(a), EFFECTIVE AS OF MAY 7, 2008


          1.      The applicants, Shapes/Arch Holdings L.L.C. (“Shapes/Arch”), Shapes L.L.C.

 (“Shapes”), Delair L.L.C. (“Delair”), Accu-Weld L.L.C. (“Accu-Weld”) and Ultra L.L.C.

 (“Ultra”, and with Shapes/Arch, Shapes, Delair and Accu-Weld, collectively, the “Debtors”), by

 and through Steven Grabell, CEO of Shapes/Arch and Shapes, are the

           Trustee:                Chap. 7            Chap. 11             Chap. 13

           Debtors:                Chap. 11           Chap. 13

           Official Committee of

          2.      The Applicants seek to retain the following professional, NatCity Investments,

 Inc. (“NatCity”), under Sections 327 and 328(a) of the Bankruptcy Code, effective as of May 7,

 2008, to serve as:


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          Attorney for:            Trustee              Debtors-in-Possession

                                    Official Committee of

          Accountant for:          Trustee              Debtor-in-Possession

                                    Official Committee of

          Other Professional:

                                    Realtor      Appraiser            Special Counsel

                                    Auctioneer  Other (specify): sales consultant/investment
 banker to the Debtors

         3.       The employment of the professional is necessary because: On March 16, 2008,

 the Debtors filed their petitions for relief under Chapter 11, of the Bankruptcy Code. Moreover,

 pursuant to the competitive plan process agreed to by the Debtors, the Committee and other

 parties-in-interest, and approved by the Court as part of the Final Order Authorizing Debtors to

 Obtain Post-Petition Financing and Grant Security Interest and Superpriority Administrative

 Expense Status, entered on May 6, 2008, the Debtors agreed to retain a sales

 consultant/investment banker to develop, manage and oversee the competitive plan process in

 order to maximize recovery for the estates. The Debtors believe that the retention of NatCity, as

 their sales consultant/investment banker, is necessary to enable the Debtors to execute faithfully

 their duties and responsibilities in these cases.

         4.       The professional has been selected because: of NatCity’s extensive experience

 and expertise in advising troubled companies in connection with the sale of their businesses and

 related issues and its experience and expertise in representing companies in Chapter 11

 proceedings, workouts and restructurings.

         5.       The professional services to be rendered to the Debtors are as follows:


                  (a)     Develop a list of suitable potential buyers who will be contacted on a
                          discreet and confidential basis after approval by the company immediately
                          upon the commencement of this engagement;
                                                     2
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                  (b)     Supervise the execution of confidentiality agreements for potential buyers;

                  (c)     Supervise and control due diligence requests and deliverables for all
                          potential buyers;

                  (d)     Solicit competitive offers from potential buyers;

                  (e)     Advice and assist and advise the company in structuring the transaction
                          and negotiating the transaction agreements; and

                  (f)     Otherwise assist the company, its attorneys and accountants, as necessary,
                          through closing on a best efforts basis.
 The proposed arrangement for compensation is as follows: Subject to Court approval, NatCity

 will be paid a flat fee of $250,000, plus 5% of the amount by which an Alternative Transaction

 exceeds the sum of the offer by Arch Acquisition plus the break up fee and expense

 reimbursement,1 as more fully described in the Engagement Agreement attached to the

 Certification of J. Scott Victor.

         6.       To the best of the applicants’ knowledge, the professional's connection with the

 debtors, creditors, any other party in interest, their respective attorneys and accountants, the

 United States Trustee, or any person employed in the office of the United States Trustee, is as

 follows:

          None
          Describe connection: Please see the Certification of J. Scott Victor submitted in

 support of this Application.

         7.       To the best of the applicant’s knowledge, the professional (check all that apply):

          does not hold an adverse interest to the estate.

          does not represent an adverse interest to the estate.

          is a disinterested person under 11 U.S.C. § 101(14).



 1
  For example, if the winning bid is $7 million to unsecured creditors from a competing bidder,
 NatCity would be entitled to a total fee of $275,000 ($250,000 flat fee, plus 5% of $500,000 (the
 surplus over the initial bid, break-up fee and expense reimbursement)).
                                                    3
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